[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         Memorandum of Decision
This action was brought by the plaintiff, Anthony Cucinelli dba Madison Manor Apartments, for the recovery of unpaid use and occupancy and attorney's fees and costs allegedly due to him from the defendants, Dana Andrews and Melina Riegel. Defendant, Dana Andrews, denies the plaintiff's claim and counterclaims for double the amount of his security deposit and for violations of Connecticut General Statutes, Section42-110b, the Connecticut Unfair Trade Practices Act.
The parties agree that the defendants did not pay rent or use and occupancy for the months of June and July, 1996 and that the defendants vacated the premises and returned the keys on August 11, 1996. The defendants also failed to pay use and occupancy for August 1-11, 1996. The Court finds that the plaintiff is entitled to reasonable use and occupancy for the entire period in issue in the amount of $575.00 per month, totaling $1354.03. The conditions complained of by the defendant are not sufficient to render the premises uninhabitable or to justify a reduction in the amount of use and occupancy awarded.
The defendants vacated the premises and provided the plaintiff with written notice of their forwarding address on August 11, 1996
(defendant's exhibit 4). On September 30, 1996, the plaintiff notified the defendant, Dana Andrews, in writing, that his security deposit of $862.50 would not be returned to him (plaintiff's exhibit A). Because the plaintiff failed to notify the defendant of the status of his security deposit within thirty days, he is in violation of Connecticut General Statutes, Section 47a-21 (d).
Defendant is awarded double the amount of the security deposit, or $1725.00, plus accrued interest of $181.93. The Court declines to award any damages under CUTPA. No attorney's fees are awarded to either party.
Judgment may enter for the defendant in the amount of $552.90, payable in full to defendant's attorney on or before January 30, 2001. CT Page 1830-cw
Leavitt, J.